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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

LORI SUBER,

   Plaintiff,

-vs-                                               CASE NO.: 8:18-CV-01168-SCB-AAS

NISSAN MOTOR ACCEPTANCE
CORPORATION,

   Defendant.
                                              /


                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


       COMES NOW the Plaintiff, LORI SUBER, and the Defendant, NISSAN MOTOR

ACCEPTANCE CORPORATION, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby

stipulate to dismiss, with prejudice, each claim and count therein asserted by Plaintiff, against the

Defendant in the above styled action, with Plaintiff and Defendant to bear their own attorney’s

fees, costs, and expenses.

       Respectfully submitted this 5th day of September, 2018.

/s/Jason R. Derry                             /s/ Joseph A. Apatov
Jason R. Derry (FL Bar # 36970)               Joseph A. Apatov, Esquire
MORGAN & MORGAN, TAMPA, P.A.                  Florida Bar No.: 93546
One Tampa City Center                         McGlinchey Stafford
201 North Franklin Street, 7th Floor          1 East Broward Boulevard, Suite 1400
Tampa, Florida 33602                          Fort Lauderdale, FL 33301
Telephone: (813) 223-5505                     Telephone: (954) 356-2501
jderry@forthepeople.com                       Facsimile: (954) 252-3808
Attorney for Plaintiff                        japatov@mcglinchey.com
CHRISTINA KANG                                mnew@mcglinchey.com
                                               Attorney for Defendant
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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 5, 2018, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system and that a Notice of this filing will be sent to the

following by operation of the Court’s Electronic Filing System:           Joseph Apatov, Esq.,

McGlinchey Stafford, One E Broward Blvd, Ste 1400, Fort Lauderdale, FL                     33301

(japatov@mcglinchey.com and jruiz@mcglinchey.com).


                                              /s/Jason R. Derry
                                              Jason R. Derry (FL Bar # 36970)
                                              Attorney for Plaintiff
